        Case 1:02-cv-00956-RCL Document 105-4 Filed 02/11/04 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
DIANNA JOHNSON, et. al.,            )
                                    )
                  Plaintiffs,       )
                                    )
v.                                  )                 Civil Action No. 02-2364 (RMC)
                                    )                 Next event: none scheduled
GOVERNMENT OF THE                   )
DISTRICT OF COLUMBIA, et. al.,      )
                                    )
                  Defendants.       )
____________________________________)

                            STIPULATED PROTECTIVE ORDER

       In order to permit the Plaintiffs access to information that is relevant to this case without

undermining the government's right to protect certain sensitive or confidential law enforcement

information contained in the documents in question from public disclosure, the parties, subject to

the Court's approval, hereby stipulate and agree to the imposition of a protective order, pursuant

to Fed. R. Civ. P. 26 (c) and 29, subject to the limitations and procedures contained in this

Stipulated Protective Order. Defendant District of Columbia and plaintiffs have represented that

their agreement in this order will be subject to and subsumed in a subsequent proposed stipulated

protective order governing production of computer data produced by all parties and that they will

subsequently in conjunction with the federal defendants move for a subsequent stipulated

protective order governing all parties and all computer data.


1.     This Stipulated Protective Order applies to records and electronic data generated from the

District of Columbia Superior Court Criminal Information System (“CIS”) database and any

code documentation and other documents produced in connection with the records.
        Case 1:02-cv-00956-RCL Document 105-4 Filed 02/11/04 Page 2 of 4




2.      The undersigned hereby agree that the District of Columbia will release all records

relating to women with cases pending in the District of Columbia Superior Court at anytime

during the period from five years before the date of filing the complaint in this case up to the

date of production from selected fields from CIS and code documentation and other documents

produced in connection with the records (“CIS database material”) in computer readable format

on a medium such as a tape or DVD to Plaintiffs’ counsel for the purpose of use in this litigation

only.


3.      The CIS database material, including any CIS database material produced prior to the

date of this Order, shall be considered Confidential Materials.


4.      For the purposes of this Stipulated Protective Order, Confidential Materials may only be

disclosed to (a) counsel of record in this case and associated counsel legal assistants,

investigators, secretaries, clerks, support service personnel and other employees engaged in

assisting them; (b) any consultant or expert, and employees and assistants of any consultant or

expert, who are consulted by counsel in this case and whose advice and consultations are being

or will be used by a party hereto; (c) this Court and all court personnel; and (d) any other person

authorized in advance, by order of this Court. A copy of this Stipulated Protective Order shall be

furnished to all persons who are authorized access to the specific Confidential Materials.


5.      Notwithstanding the foregoing, to the extent that the CIS database material is utilized by

experts retained by the parties to prepare opinions or statistical analyses, summaries or

compilations that do not disclose any identifying personal information regarding individuals, said

opinions, statistical analyses, summaries or compilations will not be deemed confidential and

may be included as part of the public record in this case.
        Case 1:02-cv-00956-RCL Document 105-4 Filed 02/11/04 Page 3 of 4




6.     Unless otherwise ordered by the Court, within thirty (30) days after the conclusion of this

lawsuit, including, without limitation, any appeal or retrial (or in the event that another action is

then pending involving the plaintiff and defendant, thirty (30) days after the conclusion of that

action), all Confidential Material under this Protective Order shall be destroyed, in which case

the party destroying it shall certify in writing that it has been destroyed. As to those materials

which contain or reflect Confidential Material, but which constitute a counsel’s work product, all

such work product may be maintained by counsel, but such work product shall be used only for

the purpose of preserving a file on this action and shall not, without written permission of the

entity that disclosed the Confidential Material or an Order of the Court, be disclosed to anyone

other than those to whom such information was actually disclosed in accordance with this

Stipulated Protective Order during the course of this lawsuit.


7.     Upon conclusion of this lawsuit, the provisions of this Stipulated Protective Order shall

continue to be binding and shall remain in full force and effect until modified, superseded or

terminated by Order of the Court made upon reasonable written request.


8.     Any allegations of abuse or violation of this order shall be considered by the Court. If an

allegation of abuse or violation of this order is found, the Court may take disciplinary action

against the appropriate parties.




                                               Respectfully submitted,


Robert Spagnoletti
Corporation Counsel                                 _______________
                                                    William Claiborne (446579)
Robert Utiger                                       Counsel for Plaintiffs and the Classes
Deputy Corporation Counsel                          717 D Street, NW
Equity Division                                     Suite 210
       Case 1:02-cv-00956-RCL Document 105-4 Filed 02/11/04 Page 4 of 4




                                               Washington, DC 20004
_____________________                          phone 202/824-0700
Maria Amato (414935)                           Fax 202/824-0745
Senior Litigation Counsel
Equity Division
Office of Corporation Counsel
District of Columbia
441 4th St. N.W.
Room 6 south 59
Washington, D.C. 20001
(202)724-6642
Counsel for Government of the District of
Columbia




So ordered, this ______ day of _________________, 2003.



                                            ___________________________________
                                            Rosemary M. Collyer
                                            United States District Court Judge
